         Case 1:17-cv-11011-GAO Document 197 Filed 09/27/19 Page 1 of 1



                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS

                               CIVIL ACTION NO. 17-11011-GAO

                                        ANDREW MOBUS,
                                           Plaintiff,

                                                  v.

                   BARD COLLEGE, PETER LAIPSON, and SUSAN LYON,
                                    Defendants.


                                              ORDER
                                         September 27, 2019

O’TOOLE, D.J.

       This Order resolves the pending motions in this case.

       The plaintiff’s Motion to Strike Defendant Bard’s Late Filed Response to Plaintiff’s

Statement of Facts (dkt. no. 166) is GRANTED in part and DENIED in part. The defendant’s late

response (dkt. no. 163) is stricken, but the Court will not deem the plaintiff’s facts admitted.

       The plaintiff’s Motion to Strike (dkt. no. 168) portions of the defendant’s initial response

to its statement of facts is DENIED.

       The plaintiff’s Assented to Motion for Extension of Time (dkt. no. 141) and Motion for

Leave to File Notice of Supplemental Authorities (dkt. no. 195) are GRANTED nunc pro tunc.

       The plaintiff’s Motion for Partial Summary Judgment (dkt. no. 112) and the defendant’s

Motion for Summary Judgment on Plaintiff’s Claims (dkt. no. 127) are DENIED. This case should

be resolved on the basis of a full evidentiary presentation at trial.

       It is SO ORDERED.

                                                               /s/ George A. O’Toole, Jr.
                                                               Senior United States District Judge
